89 F.3d 834
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.NATIONAL LABOR RELATIONS BOARD, Petitioner,v.TAYLOR MACHINE PRODUCTS, INC., Respondent.
    No. 96-5304.
    United States Court of Appeals, Sixth Circuit.
    April 25, 1996.
    
      Before:  ENGEL, MILBURN, and BOGGS, Circuit Judges.
    
    CONSENT JUDGMENT
    
      1
      This cause was submitted upon the application of the National Labor Relations Board (the "Board") for the enforcement of a certain order on consent issued by it against the respondent, Taylor Machine Products, Inc., its officers, agents, successors, and assigns, on February 16, 1996, in a proceeding before the Board numbered 9-CA-32338.
    
    
      2
      Upon consideration, it is ORDERED and ADJUDGED that the said order of the Board be, and the same is hereby enforced.   The respondent, Taylor Machine Products, Inc., its officers, agents, successors, and assigns, shall abide by and perform the directions of the Board contained therein.
    
    